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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM

Honorable Garland E. Burrell, Jr.
Chief United States District Judge
Sacramento, California

                                         RE:   Sau Weuy SAEPHAN
                                               Docket Number: 2:04CR00205-07
                                               CONTINUANCE OF JUDGMENT
                                               AND SENTENCE

Your Honor:

Per agreement with both counsel, it is respectfully requested that the above-referenced
case be continued from August 17, 2007 to August 31, 2007 at 9:00 a.m.


REASON FOR CONTINUANCE:


This officer inadvertently missed the scheduled release date appropriate for the
Dispositional Memorandum. Thus, Your Honor will not receive the memorandum in ample
time to review.

                                 Respectfully submitted,


                                 /s/ George A. Vidales
                                GEORGE A. VIDALES
                            United States Probation Officer

REVIEWED BY:         /s/ Deborah A. Spencer
                    DEBORAH A. SPENCER
                    Supervising United States Probation Officer

Dated:        August 13, 2007
              Elk Grove, California
              GAV/cj




                                           1                                                R ev. 05/2006
                                                                  C O N T IN U A N C E ~ T O JU D G E .M R G
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RE:   Sau Weuy SAEPHAN
      Docket Number: 2:04CR00205-07
      CONTINUANCE OF JUDGMENT AND SENTENCE




cc:   Clerk, United States District Court
      Mary L. Grad, Assistant United States Attorney
      Candace A. Fry, Defense Counsel (Appointed)
      Shani Furstenau, Court Clerk
      Probation Office



 X    Approved

      Disapproved


Dated: August 14, 2007



                                    GARLAND E. BURRELL, JR.
                                    United States District Judge




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                                                         C O N T IN U A N C E ~ T O JU D G E .M R G
